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                                                  EXHIBIT K
     From:           Folk, Liz
     To:             Eli Wahby; Bourbonnais, Valerie
     Subject:        Vinas, Rigoberto 8356627 - SMUL


                Contestable Claim Underwriting Review - Life

     Certificate no:                                   8356627
     Name:                                             Rigoberto Vinas
     Face Amount:                                      92,000
     Plan:                                             Smart UL
     Riders:                                           none
     Date of birth:
     Gender:                                           Male
     Age at issue:                                     73
     Smoking status:                                   Non Tobacco

     Application signed by voice on:     Jan 12, 2015
     State:                                FL
     Issue Date:                   January 26, 2015
     Date of Death:                 January 11, 2017

     Cause of Death and Duration:                              REDACTED
     Significant Contributing Factors:                         REDACTED

     Application questions:     all no
     Questionnaires:        Diabetes

     Intelliscript/Optum:     passed
     MIB: alert found consistent with disorder in Q#24h
     MVR: claims did not provide to uw for contestable review

     NBA/NBU Underwriting Decision: approved Standard

     Causal Connection State: no
     Replacement State: no
     Reinsurance: no Amt Ceded: $                          Company:

     Report from Hershman Medical Center (98 pages)

     Pg. 79 – Jan 21, 2015
     Assessment: …Diabetes mellitus type 2 or unspecified type with neurological
     manifestation – 250.60, Neuropathy in diabetes – 357.2, diabetes mellitus type
     2 or unspecified type with peripheral circulatory di – 250.70…

     Pg. 81 – 12/15/2014
     Assessment: … Diabetes mellitus type 2 or unspecified type with neurological
     manifestation – 250.60, Neuropathy in diabetes – 357.2, diabetes mellitus type
     2 or unspecified type with peripheral circulatory di – 250.70…

     Pg. 83 – 8/19/2014
     Assessment: ..Nephritis & nephropathy, with other diseases..diabetes mellitus
     type 2 or unspecified type with renal manifestations, unc 250.42



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     Pg. 86 – 8/13/2014
     Assessment: …diabetes mellitus type 2 or unspecified type with peripheral
     circulatory di 250.7…diabetes mellitus type 2 or unspecified type with
     neurological manifestation – 250.60, neuropathy in diabetes…

     Question 24. Within the past 10 years, have you been diagnosed with, or
     received treatment or medication, tested positive or been given medical advice
     for:
     …H) Diabetes, or a disease or disorder of the thyroid, pituitary, pancreas or
     endocrine system?

     Had you been aware of the history of complications of diabetes, would you have
     issued the policy as applied for?

     Lisa Buckland
     February 24, 2017

     February 28 2017
     Underwriting Notes: At the time of underwriting there was an MIB alert
     indicating a possible history of diabetes. The underwriter questioned this
     further. The client provided a letter, dated January 22 2015, from Dr. Kenneth
     Hershman, which stated that the client had been his patient for 15 years and “is
     in good health and is not taking any medication for diabetes or on a diabetic
     diet”.

     Underwriting Opinion: Had we been aware of the Applicant’s history of
     diabetes complicated by disorders of the circulatory system and the kidneys we
     would have declined to issue coverage.
     Elizabeth (liz) Folk FALU, FLMI, ACS
     Senior Underwriter
     Underwriting
     Tel: 416-429-3000 x4308
     Fax: 1-866-271-6217
     lfolk@foresters.com

     Foresters Financial
     789 Don Mills Road
     Toronto ON M3C 1T9
     foresters.com




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